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            EXHIBIT D
                      Case 1:13-cv-06574-PKC Document 41-4 Filed 06/13/14 Page 2 of 9




From:                                        Watson, Tim
Sent:                                        Wednesday, January 08, 2014 8:01 PM
To:                                          'John Padilla'; Shardonofsky, Steve
Cc:                                          'Rhonda Wills'
Subject:                                     RE: Vangelakos depos


I thought these days were open. Why don’t you check their availability and let us know if there is a problem,
and, if so, then we can reschedule. But I don’t want to wait until the end of February.

From: John Padilla [mailto:jpadilla@pandrlaw.com]
Sent: Wednesday, January 08, 2014 4:09 PM
To: Shardonofsky, Steve; Watson, Tim
Cc: 'Rhonda Wills'
Subject: FW: Vangelakos depos

Gentelemen,
I trust that you are not trying to be disagreeable, but please see below - I never heard from you on this and then you
unilaterally noticed the depos. As I said, I have to get with the clients and check their availability.
-JMP

From: John Padilla [mailto:jpadilla@pandrlaw.com]
Sent: Monday, December 30, 2013 3:51 PM
To: 'Shardonofsky, Steve'; 'Watson, Tim'
Cc: 'Rhonda Wills'; 'azepeda@pandrlaw.com'
Subject: Vangelakos depos

Steve and Tim,
We are not available on February 4 and 5 for the depositions you noticed in the Vangelakos case. Please let me know if
February 13 and 14 or February 27 and 28 work for you so that I can get with the clients and check their availability.
I am still working on confirming availability for the depositions in the Scutts and Fernandez cases. Please note that we
would like to double track your clients' witnesses with our witnesses in Scutts and Fernandez.
Thanks,
John


PLEASE NOTE MY NEW E-MAIL ADDRESS: jpadilla@pandrlaw.com. Thank you.

John M. Padilla
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From:                                         John Padilla <jpadilla@pandrlaw.com>
Sent:                                         Wednesday, February 05, 2014 1:29 PM
To:                                           Shardonofsky, Steve
Cc:                                           Watson, Tim; 'Rhonda Wills'; 'Rhonda Wills'
Subject:                                      Production of documents in Vangelakos, et al


Steve,
Can you agree to produce the items listed in paragraph 3 of the Court's February 4 order (work schedules, calendars,
time records and performance reviews) by February 10? If so, I will call the clients to confirm their availability for their
depos on February 13 and 14 as per your notices. We can then spend our meet and confer tomorrow discussing the e-
mails and any other issues (such as the depositions we want to take).
Thanks,
John

PLEASE NOTE MY NEW E-MAIL ADDRESS: jpadilla@pandrlaw.com. Thank you.

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From:                            Watson, Tim
Sent:                            Monday, February 24, 2014 4:53 PM
To:                              'John Padilla'; Shardonofsky, Steve; 'Rhonda Wills'
Cc:                              mcedillos@pandrlaw.com
Subject:                         RE: Vangelakos v. Wells Fargo -- Depositions


John,

Any of those days is/are fine. Just pick two days, and we will do two witnesses per day. thx



From: John Padilla [mailto:jpadilla@pandrlaw.com]
Sent: Monday, February 24, 2014 4:48 PM
To: Shardonofsky, Steve; 'Rhonda Wills'
Cc: Watson, Tim; mcedillos@pandrlaw.com
Subject: RE: Vangelakos v. Wells Fargo -- Depositions


we discussed having depos b/w March 26 and 28 - please tell me the dates you want and I will check with clients so we
can figure out the order based on their availability

thanks,

John



From: Shardonofsky, Steve [mailto:SShardonofsky@seyfarth.com]
Sent: Monday, February 24, 2014 4:46 PM
To: 'Rhonda Wills'; John Padilla (jpadilla@pandrlaw.com)
Cc: Watson, Tim; Shardonofsky, Steve; mcedillos@pandrlaw.com
Subject: Vangelakos v. Wells Fargo -- Depositions


Rhonda, John,

We will be noticing up the Plaintiffs deposition for the week of March 24, as we previously agreed. We will try
to do two depositions per day if possible -- one in the morning and one in the afternoon.

Also, please note we plan to object to your request to depose Michelle Lee -- just like we did in the prior cases
when you asked to depose Carrie Tolsted. Like Carrie Tolsted, Michelle Lee (who was the Group Retail
Banking Executive at Wachovia responsible for the entire East Coast and is now the Lead Regional President
for the Northeast Community Bank) has no specific knowledge regarding the Plaintiffs allegations or their
individual claims. Her responsibilities require her to make decisions regarding the overall management of the
company--not decisions regarding any one individual team member or bank location. Moreover, even if she
had any knowledge relevant to this case--this information could be obtained through less invasive sources,
such as written discovery or depositions of lower-ranking employees. If you notice her deposition, we will
request a conference with the court to discuss Wells Fargo’s request for a protective order to prevent this apex
deposition.

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Janice Osdoby is no longer employed by Wells Fargo. We are currently investigating her role at Wachovia and
Wells Fargo, and it is likely that we may also object her deposition on the same grounds. Finally, Richard Motta
is also no longer employed by Wells Fargo. We are still trying to get in touch with him.

Let us know if you have any questions.



Seyfarth Shaw’s Houston office has moved. Please make note of my new address below.

Steve Shardonofsky | Seyfarth Shaw LLP
700 Milam Street | Suite 1400 | Houston, TX 77002
(t) 713.225.1001 | (c) 713.269-9640 | (f) 713.821.0657
sshardonofsky@seyfarth.com | www.seyfarth.com

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From:                                         John Padilla <jpadilla@pandrlaw.com>
Sent:                                         Saturday, March 01, 2014 5:04 PM
To:                                           Watson, Tim; Shardonofsky, Steve
Cc:                                           'Rhonda Wills'; 'Rhonda Wills'; 'Genevieve Estrada'; 'Janie'; 'Moises Cedillos'; 'Silvia
                                              Quintero'
Subject:                                      please notice depositions in Vangelakos case as follows




Thursday March 27 at 9 am: Joseph Koronakis
Thursday March 27 at 1 pm: Barry Wayne

Friday March 28 at 9 am: Ian King
Friday March 28 at 1 pm: George Vangelakos

Thank you,
John

PLEASE NOTE MY NEW E-MAIL ADDRESS: jpadilla@pandrlaw.com. Thank you.

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From:                          Watson, Tim
Sent:                          Friday, March 21, 2014 10:37 AM
To:                            Hoffer, Rachel M.; jpadilla@pandrlaw.com
Cc:                            Shardonofsky, Steve; Whitman, Robert S.; Maxwell, Beverly A
Subject:                       Vangelakos depos


Rhonda,

As we discussed, we will depose three of the Vangelakos plaintiffs on April 22 and 23. I understand you are
still working on scheduling a date with Mr. Vangelakos. We will wait to hear back from you regarding whether
he can do it on the 22 or 23 along with the other three plaintiffs.

Thanks. Tim




Timothy M. Watson
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(713) 821-0660 (fax)
www.seyfarth.com




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From:                         Rhonda Wills <rwills@rwillslawfirm.com>
Sent:                         Friday, April 18, 2014 1:14 PM
To:                           Watson, Tim
Cc:                           Shardonofsky, Steve; 'John Padilla'
Subject:                      Vangelakos Depos


Tim, just to confirm, as we discussed we will proceed with the deposition of Ian King and Barry Wayne, but we
will need to reschedule Joe Koronakis. Accordingly, Mr. Koronakis will be deposed at the same time as George
Vangelakos (date to be determined).

Thanks, Rhonda


Rhonda H. Wills
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**PLEASE NOTE MY NEW SUITE NUMBER***




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